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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                        CRIMINAL NO. 04-29 (JRT/FLN)

UNITED STATES OF AMERICA,              )
                                       )
                    Plaintiff,         )   GOVERNMENT’S POSITION WITH
                                       )   RESPECT TO SENTENCING
             v.                        )
                                       )
MOHAMED ABDULLAH WARSAME,              )
                                       )
                    Defendant.         )

                                 Introduction

      The United States of America, by and through its attorneys

Frank J. MaGill, Jr., United States Attorney for the District of

Minnesota, Assistant United States Attorney W. Anders Folk, and

Trial Attorney Joseph N. Kaster, hereby submits this Position with

Respect to Sentencing in accord with 18 U.S.C. § 3553(a) and the

United States Sentencing Guidelines Manual (“Guidelines”)) § 6A1.2,

and   in   anticipation     of   the   sentencing   hearing   in   this   case

scheduled for July 9, 2009.

      The Defendant has pleaded guilty to conspiring, over a period

of several years, to provide material support and resources to al-

Qaeda.     During this time, Warsame traveled to Afghanistan where he

received military training from al Qaeda at two training camps.

Upon returning home, Warsame maintained communications with al

Qaeda fighters from those camps and sent money back to Pakistan to

support them.       Warsame persevered in this conduct notwithstanding

the events of September 11th and his knowledge that al Qaeda was

responsible       for   terrorist   attacks   worldwide   that   have   killed
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thousands of innocent persons.        The probation office has correctly

computed      the   Defendant’s    guideline    range     to    be   180   months

imprisonment.       For the reasons set forth below and as provided in

the plea agreement, the United States respectfully recommends that

the   Court    sentence   the     Defendant    to   a    term   of   150   months

imprisonment.

                           Factual Background

      In March 2000, the Defendant Mohamed Warsame left Toronto,

Canada, and traveled to Afghanistan. Over the next several months,

he received military training at two terrorist training camps and

worked under the direction and control of al Qaeda leadership to

support the terrorist group. Throughout his travels, the defendant

used two aliases: Abu Suhayla and Abu Maryam.

      First Terrorist Training Camp: (Spring-Summer 2000)

      After leaving Canada, Warsame arrived in Karachi, Pakistan,

and sought out a way to enter Afghanistan.              Warsame then illegally

crossed the border into Afghanistan by walking over a mountain pass

with a group of other men journeying there for jihad.                  Prior to

attending the first camp, Warsame visited the front line fighting

between the Taliban and the Northern Alliance forces. Warsame then

began training at military camp for al Qaeda and other terrorists

located near Kabul, Afghanistan.              The camp was known as the

“Stranger’s Camp” or the “Camp of Abu Musab” after its leader, Abu

Musab Al-Suri.        For approximately five months, Warsame trained


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alongside dozens of jihadists from other countries.               Warsame

received training in physical fitness, the use of weapons, and

martial-arts.   Abu Musab, who Warsame admired as an intellectual,

was well-known for his lectures on Islamic history, the evils of

Western society, and the path of jihad against the unbelievers.

Warsame later told agents that Islam needs to be defended, if

necessary, with a person’s money or life.           While at the camp,

Warsame came to know a camp commander who taught martial arts, Abu

Jarrah, and later corresponded with Jarrah after Warsame returned

to Canada.   The Defendant described how at this camp he and his

fellow trainees were restless for action and wanted to fight.

     Second Terrorist Training Camp: Camp of Usama bin Laden (al
     Faruq) (Summer - Fall 2000)

     In the mountainous terrain outside Kandahar, Afghanistan,

Warsame attended a second terrorist training camp.         This camp was

known to Warsame as the “Camp of Usama bin Laden” it was also

called “al Faruq” by other attendees.         At the time the Defendant

attended, al Faruq was largest training camp for Usama bin Laden

and al Qaeda. Prior to admittance, Warsame was interviewed and his

passport was examined by al Qaeda leadership.        Jihadists from all

over the world made their way to the Camp of Usama bin Laden.

Warsame frequently saw Bin Laden himself at the camp, lecturing or

even eating with the trainees.     In fact, Warsame himself sat next

to Bin Laden and shared a meal.         Warsame later declared to F.B.I.

agents that he found Bin Laden very inspirational.

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     The Defendant received additional military training at this

second camp.   Warsame told agents that training at this camp was

even more demanding and difficult than that at Abu Musab’s camp.

Warsame received training on a variety of skills required by al

Qaeda: physical fitness/martial arts, use of AK-47 rifles, Uzis and

other weapons, tactics, and navigation.        Warsame was aware others

received specialized training at this camp and another one near

Kabul that focused on explosives, poisons, passport forgery, and

suicide missions/bombings, although Warsame claims he did not

participate in any advanced classes.

     During his tenure at this second camp, Warsame again traveled

to the Taliban front line.     On this occasion, Warsame fought for

the Taliban and experienced heavy fighting between the Taliban and

the Northern Alliance. While at the front, he carried an AK-47 and

was assigned to a reserve position in the event the enemy broke

through the Taliban’s lines.            Apart from receiving training,

Warsame also provided assistance to al Qaeda by using his language

skills to translate Arabic instruction into English for lectures to

camp attendees on guns and navigation.

     Travel to and within Pakistan (Fall - Winter 2000)

     Warsame sought permission from a camp instructor for temporary

leave.   Warsame hoped to rest at a guesthouse in Kandahar before

returning to the camp.      Receiving permission to leave, Warsame

stayed at a guesthouse in Kandahar and then traveled to Pakistan.


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While in Pakistan, the Defendant lived with university students who

were assisting al Qaeda by providing other jihadists a place to

stay in Pakistan.      The Defendant stayed with a man that he had met

earlier   while   in   Afghanistan   at   the   first   training    camp   he

attended.

     Once in Pakistan, Warsame communicated via email with a

variety of individuals, including his wife, friends in Canada and

co-conspirators whom he met while in Afghanistan. In early October

2000, for example, Warsame wrote to one of his friends in Canada:

“..[I] am doing fine and have arrived safely from ‘The Great Land’

[i.e., Afghanistan] I spend nearly the whole of the summer there[.]

[I]t was one of the greatest experiences of my life.               I will be

going back there very soon.”     In the same email, Warsame asked for

money to have an eye operation to allow him to operate more

effectively in Afghanistan:

            As you know all my money is over and I am in
            urgent need of money as soon as possible. I
            need at least 800 to 1000 u.s. dollars
            because I want to do an eye operation that is
            laser treatment so that I don’t have to wear
            glasses any more. As you know that when I
            return to the great land it will help me very
            much to not depend on glasses especially for
            the kind of stuff we do there.

Approximately four days later, Warsame informed the same friend

that “I went to the hospital today to make a checkup of my eyes and

made an appointment for Wednesday.” After receiving money, Warsame

discussed his friend’s possible travel to Pakistan and Afghanistan,



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writing

                 [b]rother you said that you are coming to
                 pakistan: When are you coming so that I will
                 be ready to recieve [sic] you. We can discuss
                 about “The Great Land” and all about the
                 latest activities there. It is better to see
                 each other (sic) face to face to discuss these
                 things.

        While in Pakistan, Warsame expressed his desire to return to

Afghanistan.           In an email sent on October 16, 2000, Warsame

inquired of another associate: “When are you and [name omitted]

going to come and leave kuffar countries you know it is haraam to

stay over there.          Alhamdullilah life is very good over here.”1        By

December 2000, Warsame instructs another jihadist: “[b]rother, if

you have any news or important information please let me know,

because I don’t want to be late for the action, you know what I

mean.        We hear there might be an attack soon.”

        In late December 2000, Warsame had planned to move his family

from Minneapolis to Afghanistan.               Warsame wrote of his plans for

the future:

                 Brother I would like to inform you of some
                 good news. As you know I have been trying to
                 talk to my family for some time now of making
                 hijra and coming to join me. Alhamdullilah my
                 wife has sent me a message that she has
                 finally agreed to coming here from America
                 where she lives.

                 Unfortunately I dont [sic] much money and I

        1
        Kuffar translates as “non-believer;” Haram translates as
“forbidden;” Alhamdulliah translates as “praise to God.”


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          dont know what I should do.      On monday I
          should be getting the money that you sent me
          since due to the eid holidays I was unable to
          get the money.

The Defendant explained the importance of removing his family from

the United States drives Warsame’s desire to re-locate them to

Afghanistan:

          Brother this is a unique opportunity for me to
          save my family from the clutches of the kuffar
          especially since I also have a young daughter
          who is almost 3 years old.


But ultimately, as events unfolded, Warsame did not move his family

to Afghanistan, and he ultimately returned home to Canada instead.

     Jihadist Guesthouse and Clinic: (Winter-Spring 2001)

     Following a few months in Pakistan, the Defendant returned to

Afghanistan and to the al Qaeda guesthouse in approximately January

2001. The Defendant told agents that the guesthouse was to provide

people attending Bin Laden’s camp a place to rest.         The Defendant

worked at the guesthouse as a guard, where his duties included,

among other things, searching potential guests’ luggage to ensure

the security of the organization.        Across from the guesthouse,

there was an Islamic institute and a clinic.       The institute taught

a very radical form of Islam, and Warsame went there more than

once, although he claimed he was not allowed to attend on a regular

basis. At the guesthouse, Warsame met several individuals who were

subsequently convicted, or sought by law enforcement, for a variety

of terrorism-related offenses in the United States and abroad, such

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as Zacarias Moussaui and Richard Reid.

     Located near the guesthouse where the Defendant worked as a

guard was a medical clinic.     In order to work at the clinic, one

needed a recommendation from another jihadist who could vouch for

a prospective attendee based on an individual’s ideological purity.

The head of the clinic asked Warsame to teach English to the

clinic’s staff, which he did.           The clinic’s students received

medical training to treat fellow jihadists.          In one situation,

Warsame observed a goat being shot so that students could learn how

to remove bullets from a body.     On another occasion, Warsame met a

jihadist taken to the clinic who was injured in an explosion at bin

Laden’s camp.

     Al Qaeda sends Warsame back to the West: (Spring 2001)

     The Defendant also explained to agents that there was an

Islamic Institute across the street from the guesthouse.               The

Defendant knew the leader of this institute by name, Abu Hafs al

Masri (a/k/a Mohammed Atef), and knew that he was a high ranking

member of al Qaeda. During early 2001, Warsame approached Atef for

money to bring his family from Canada to Afghanistan.                  Upon

receiving this request, Atef examined Warsame’s Canadian passport

and told Warsame he instead should return to Canada. The Defendant

explained that when he made this request, Atef told the Defendant

that because the Defendant’s passport was due to expire, the

Defendant should leave Afghanistan so that he was not “stuck.” The


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Defendant explained to agents that Atef valued the Defendant’s

passport because it made it easier for the Defendant to enter

western countries.2

     Warsame believed that Atef did not want Warsame to apply for

a renewal of his passport while in Pakistan because this would draw

attention to Warsame when he returned to Canada.            Atef directed al

Qaeda’s travel department to provide Warsame with $1700 cash and a

plane ticket to return home.

     Warsame maintains his conspiratorial relationship with
     fellow jihadists: (Spring 2001 - Fall 2003)

     Despite initially denying to the FBI that he maintained

contact with any individuals from the training camps, Warsame

ultimately admitted that he in fact continued his relationship with

these fellow jihadists.        Immediately after leaving Afghanistan and

Pakistan, for example, Warsame spent two weeks in London.                  In

London he met up with a man he knew from the Islamic institute in

Afghanistan.

     Using aliases, multiple accounts, and coded language, Warsame

maintained communication with several men he knew from the training

camps.     On March 29, 2001, for example, the Defendant received an

email from one of the individuals from Afghanistan, which read in

part: “[C]ould you send me please, the cassetes [sic] that I talked


     2
      While in Afghanistan, Warsame was asked to conduct
operations in Western countries, but Warsame claims he denied
this request.

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with you about to this adress [sic]: [London address omitted].”

Two days later, in an email dated March 31, 2001, the Defendant

received a second related email where Warsame is instructed on how

to contact the sender: “You can call me on this number [London

phone number omitted].    I’ve got an apartment I’m alone so you can

join me.   Don’t use anymore my name ok! or br!”

     Warsame’s associate from the institute was very concerned

about returning to Canada.     Consequently, Warsame and he discussed

what “tricks” to use to get back into Canada.          After arriving in

Canada from London, Warsame wrote in April 2001 to this individual:

           Thanks to Allah i have reached safely in
           canada.   There is no stamp on the passport
           from london. In Canada I was asked lots of
           questions like how come you went for a year
           and all that. and also they are afraid of mad
           cow disease and they check the bags and spray
           something on your shoes so be careful.3

     In May, 2001, as the Defendant’s immigration status in the

United States appeared to be moving forward successfully, the

Defendant wrote a friend to see if he could get any information

regarding the process.     Specifically, the Defendant asked: “What

should [I] expect in the interview like what kind of questions? and

is it hard?”

     Jihadists from the camps communicated with Warsame about the

situation in Afghanistan and requested his assistance, “[e]veryone



     3
        Warsame later saw this individual on CNN as wanted by the
U.S. Government.

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sends you their regards and all the men are doing well,” in this

email, the Defendant was also informed that Jarrah from the al

Qaeda camp “wants the phone number to call you about an urgent

matter[.]”    Warsame responded: “I can speak to the other brothers

who might give some money.        Allah willing I am planning to go to

America and work over there[.]       Allah willing, if i get a good job

I will try to help [the camp commander].” And then, shortly later,

Warsame told Jarrah: “Concerning the issue you spoke to me about,

thanks be to Allah, I spoke to some of the brothers and they told

me, Allah willing, they will try to send you some money for the

sake of Allah.”       In emails on June 9, and July 1, 2001, the

Defendant was provided with account information for a bank in

Pakistan by two of his co-conspirators.          The account information

was provided to the Defendant so he would know where to direct the

money on behalf of his co-conspirators.         Warsame subsequently sent

the money ($2000 Canadian) to a bank account in Pakistan and

received an email from his camp commander thanking him for the

money.

       The Defendant’s communication with his co-conspirators from

his time in the al Qaeda camps continued as the Defendant was

getting ready to leave Canada for the United States.           In an August

21, 2001, email, the Defendant wrote his camp commander, telling

him,

             Beloved brother, I have a very important
             subject and am drawing near. i need your

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               prayers especially for this issue. As I told
               you before, I will travel to America and have
               requested papers for this purpose.

        Even    after   September    11,     2001,   Warsame   maintained    his

relationships       with   the      co-conspirators     from    his   time   in

Afghanistan.       For example, approximately six weeks after the 9/11

attacks, on October 26, 2001, the Defendant wrote one of his former

camp commanders, in part,

               How are you? Brother you probably know the
               situation here and the people changed after
               the events of last month What is your security
               situation there? What is the situation with
               the brothers? First and foremost, could you
               assure me that you are [commander’s name
               omitted]? Could you mention the name of the
               school where we both were? I mean the name of
               the school or anything that assures me that
               this is you, [commander’s name omitted].

        Warsame received a request back from his commander in December

2001.     Jarrah wrote the Defendant seeking assistance for families

of men who were killed in Afghanistan. The email, sent on December

12, 2001 reads in part:

               To my dear brother abu Maryam I will start
               this letter with the saying May God help
               Listen, brother, neglect is on the rise and
               problems are increasing. We must be ready to
               solve these problems.    Many of the families
               came now and here and you do know what this
               means.   There are many families that must
               travel to their countries and there are (4)
               families who must travel as soon as possible.
               The men of some of those families [got
               married], I mean the women lost their husbands
               and may God help. Listen, beloved brother We
               must make every effort for this and I think
               you understand what I am saying very well and
               as soon as possible . . . I want replies to

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          these questions as soon as possible . . .
          Concerning the expenses, every family needs
          approximately (1500 to 1000) American dollars
          I want you and [Defendant’s friend from Canada
          who had been in Afghanistan at the same time
          as Defendant] to assist each other on this
          issue (the situation is difficult, Abu Maryam)
          Your brother [commander’s name].

The Defendant also received a request from the co-conspirator he

spent time with in London after the Defendant left Afghanistan. On

December 31, 2001, this co-conspirator asked the Defendant to pass

messages to other individuals:

          How are you Abu Maryam, [t]his is [co-
          conspirator’s name omitted]. I hope that you
          will write us to this e-mail [email address
          omitted].   I want a favor from you: Call
          brother they call FATHI on this number in
          Montreal [telephone number omitted] and tell
          him: Raouf and his friend are doing fine,
          thanks be to Allah. Let him call us on this
          e-mail [co-conspirator’s email address]. Tell
          him to send us the news of the brothers in
          Montreal and to give this e-mail to TAXI
          DRIVER, to SNAKE, and to CROCODILE. Peace be
          upon you

     In January 2002, the Defendant wrote his associate from the

institute, with whom he had spent time in London,

          Peace be upon you and Allah’s mercy and
          blessings[.] How are you Sheikh? What is new
          with you?    Brother, i want to help you in
          Allah but you know about the danger and you
          know that they caught [Zacarias Moussaoui]
          What is new with you? What is the security
          situation?   Allah bless you, [friend’s name
          omitted].   I had planed (sic) to visit you
          again in your city during Ramadan. How was
          Ramadan? How was the feast? Peace be upon
          you and Allah’s mercy and blessings My
          nickname now is abu zaynab


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     Using three separate email accounts, Warsame regularly logged

in to check for messages from individuals he knew from the training

camps, passed messages among them, and received updates about their

status in Afghanistan and elsewhere.       While living in Minnesota in

2003, the defendant repeatedly checked the email accounts he used

to communicate with his jihadi co-conspirators from a variety of

locations outside his home, despite having internet access at home.

Even in December 2003, when he was being interviewed by the FBI,

Warsame could not help but ask the agents about the fates of his

associates from Afghanistan.

                                Argument

Based on the applicable Guidelines range and the factors of 18
U.S.C. § 3553(a), the Court should impose a sentence of 150 months
imprisonment.

A.   Post-Booker, a district court should apply a three-step
     sentencing procedure.

     In the aftermath of Supreme Court’s decision in United States

v. Booker, 543 U.S. 220 (2005), the Eighth Circuit has held that

district courts should follow the general sentencing procedures

outlined by the Second Circuit in United States v. Crosby, 397 F.3d

103 (2d Cir. 2005).   See United States v. Haack, 403 F.3d 997, 1002

(8th Cir. 2005).   In Crosby, the Second Circuit explained that, as

a result of the Booker decision, a district court must engage in a

three-step sentencing procedure.

     First, the court must determine the applicable Sentencing



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Guidelines range, and in so doing, “the sentencing judge will be

entitled to find all of the facts that the Guidelines make relevant

to the determination of a Guidelines sentence and all of the facts

relevant   to   the   determination    of    a   non-Guidelines   sentence.”

Crosby, 397 F.3d at 112.      United States v. Garcia, 413 F.3d 201,

220 (2nd Cir. 2005).       The Eighth Circuit has held that “we see

nothing in Booker that would require the court to determine the

sentence in any manner other than the way the sentence would have

been determined pre-Booker.”          Haack, 403 F.3d at 1003; United

States v. Garcia, 413 F.3d 201, 220 (2nd Cir. 2005) (“Judicial

authority to find facts relevant to sentencing by a preponderance

of the evidence survives Booker.”).              Moreover, “‘the sentencing

court [is] entitled to rely on any type of information known to it

when determining an appropriate sentence.’”               United States v.

Granik, 386 F.3d 404, 414, n.7 (2nd Cir. 2004)(internal quotations

and citation omitted).

     The second step of the post-Booker sentencing process is for

the district court to consider whether a departure from the

Guidelines range is appropriate.           Haack, 403 F.3d at 1002 (citing

Crosby, 397 F.3d at 112).

     Third,     the   sentencing    court    must   consider   the   advisory

Guidelines range, “along with all of the factors listed in section

3553(a),” and determine the sentence to impose.            Id. at 1002; see

Booker, 543 U.S. at 245-46.        Title 18, United States Code, Section


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3553(a) provides that the “court shall impose a sentence sufficient

but not greater than necessary, to comply with the purposes set

forth in paragraph (2) and then sets forth in pertinent part as

follows:

          (1) the nature and circumstances of the offense and
     the history and characteristics of the defendant;

           (2)   the need for the sentence imposed–

               (A) to reflect the seriousness of the offense,
     to promote respect for the law, and to provide just
     punishment for the offense;
               (B) to afford adequate deterrence to criminal
     conduct;

               (C) to protect the public from further crimes
     of the defendant; and

               (D) to provide the defendant with needed
     educational or vocational training, medical care, or
     other correctional treatment in the most effective
     manner;

           (3)   the kinds of sentences available;

          (4) the kinds of sentence and the sentencing range
     established for–

               (A) the applicable category of offense
     committed by the applicable category of defendant as set
     forth in the guidelines–

           . . . .

          (5) any pertinent policy statement . . . issued by
     the Sentencing Commission . . . .

          (6) the need to avoid unwarranted sentence
     disparities among defendants with similar records who
     have been found guilty of similar conduct . . . .

     Although the Sentencing Guidelines are no longer mandatory,

they nevertheless continue to play a critical role in trying to

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achieve the “basic aim” that Congress tried to meet in enacting the

Sentencing Reform Act, namely, “ensuring similar sentences for

those who have committed similar crimes in similar ways.”                Booker,

543 U.S. at 252. Thus, the Second Circuit has instructed district

judges to consider the Guidelines “faithfully” in sentencing,

Crosby,   397   F.3d   at    114,   and     has   held   that   the   applicable

Guidelines range is “a benchmark or a point of reference or

departure” for a district court considering what sentence to impose

on a defendant.    United States v. Rubenstein, 403 F.3d 93, 99 (2nd

Cir.), cert. denied, 126 S. Ct. 388 (2005).              Likewise, the Eighth

Circuit has stated that a district court’s discretion in departing

from the Guidelines’ range is not unlimited: “[R]easonableness as

constraint on a district court’s discretion to depart downward

infers a limited range of choice.”            Haack, 403 F.3d at 1004.

     Because the Guidelines continue to represent a benchmark, in

“the overwhelming majority of cases, a Guidelines sentence will

fall comfortably within the broad range of sentences that would be

reasonable.”    United States v. Fernandez, 443 F.3d 19, 27 (2nd Cir.

2006). This is unsurprising, given that the Guidelines reflect the

“accumulated    wisdom      and   experience      of   the   Judicial   Branch.”

Mistretta v. United States, 488 U.S. 361, 412 (1989).

B.   The Pre-Sentence Report has correctly determined the
     applicable guideline range in this case.

     The United States has reviewed the presentence investigation



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report prepared by the Probation Office for the District of

Minnesota.     Based on this review, the United States submits that

the presentence report has correctly determined that the applicable

guideline range for the offense of conviction is 180 months.                 See

Presentence Investigation Report, dated June 30, 2009, at ¶ 56.

Based solely on the Guidelines, the United States further agrees

that a downward departure is inappropriate but submits that a

variance to 150 months is reasonable under the factors outlined in

18 U.S.C. § 3553(a).

C.    The Defendant’s provision of material support to al Qaeda
      warrants a sentence of 150 months imprisonment.

      Based on the various statutory factors, a sentence of 150

months reasonably and appropriately reflects the seriousness of

Defendant’s     criminal        conduct    in   supporting    al    Qaeda,   the

Defendant’s history and characteristics, the need for deterrence

and protection of the public from further crimes by Defendant, and

the critical policy of avoiding disparities in sentences among

similarly situated defendants.

      1.     The nature of the offense and the characteristics of the
             Defendant necessitate a sentence of 150 months.

      A sentence of 150 months imprisonment appropriately takes into

account the nature and circumstances of the offense and the history

and   characteristics      of    the    defendant.    The    Defendant   stands

convicted of providing material support and resources (namely,

“personnel”    and   “money”)      to     al-Qaeda.   For    many   years,   and


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certainly during the period of Defendant’s criminal conduct, al

Qaeda has presented one of the greatest threats to U.S. national

security.    Al-Qaeda has planned and executed some of the most

heinous terrorist acts in history in which thousands of innocent

people have died. These assaults, of course, include the deadliest

terrorist plot ever perpetrated in the United States, the attack of

September 11, 2001.

     Even more essential than bombs, weapons, and money, terrorist

groups need and crave individuals who believe in their causes and

are willing to act under the group’s direction and control.             And

that is why Congress in section 2339B prohibited the provision of

“personnel” to foreign terrorist groups like al Qaeda.

     By choosing to offer himself to al Qaeda in a variety of ways,

Warsame supplied that critical ingredient, personnel, without which

no terrorist group can survive.     As described above in the factual

background, Warsame first and foremost attended not one, but two,

terrorist training camps designed to provide military skills to

jihadists.    With these trained jihadists, Al Qaeda then could

execute its grisly plots.    Warsame also worked under the direction

of al Qaeda leaders by providing guard duty and English lessons.

Finally, even after completing his military training, Warsame

furnished a crucial service by maintaining contact with his former

camp mates, passing along information about border entry and the

whereabouts of fellow jihadists, and sending money to his former


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camp commander to assist “the brothers.”        The decision by a senior

al Qaeda leader to supply Warsame with travel money to return home

paid dividends.

     The   Defendant’s   history   and   characteristics     also    make   a

sentence of 150 months appropriate.           Apart from the current

conviction, the Defendant does not have a criminal history, but the

lack of criminal history points does not appropriately reflect his

past acts on behalf of al-Qaeda or his future dangerousness.

Although Warsame may not have been a born soldier, he overcame his

physical   limitations   through   dedication    to   al   Qaeda’s   cause.

Warsame found military training very challenging at the first camp

he attended, but he nevertheless choose to attend a second camp

where the training was even more difficult.       His training involved

martial arts and use of assault weapons. Even with his vision

impairment, Warsame as a soldier spent time on the Taliban front

line on two separate occasions. Indeed, he sought money for an eye

operation to allow him to operate more effectively while in

Afghanistan (as he said “especially for the kind of stuff we do

there”).   What other skills he possessed, he readily offered, such

as teaching and translating English to jihadist medical students at

the Kandahar clinic.

     The Defendant’s emails from Pakistan illustrate that while he

was away from grueling day-to-day camp life in Afghanistan, he

expressed how important this training was to him by describing it


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as the best summer of his life and encouraging a friend back in

Canada to join him in Afghanistan.               Further, Warsame asked his

fellow jihadists to keep him posted on what was taking place inside

Afghanistan so that he would not miss a chance to fight.                   And

finally, despite the harsh, strenuous, and dangerous             training he

received and the perils of war, Warsame sought to move his wife and

young daughter to Afghanistan.

     2.        By appropriately reflecting the seriousness of providing
               material support to al-Qaeda, a sentence of 150 months
               also promotes deterrence, and imposes a reasonable and
               fair punishment in light of other similarly situated
               defendants.

     By Spring 2000, al Qaeda and Usama bin Laden were already

known to engage in a violent, radical form of Islam.             As an attack

against the United States, al Qaeda bombed two U.S. embassies in

Africa on August 7, 1998.         Al Qaeda had issued fatwas, or Islamic

legal rulings, exhorting Muslims worldwide to carry out holy war

against the United States and other enemies of Islam.            Under these

circumstances, the Defendant chose to leave his home and seek out

jihadists’ training in Afghanistan.          After another al Qaeda attack

in October 2000 against the USS COLE which killed several Naval

personnel, the Defendant remained in Afghanistan, working at an al

Qaeda guesthouse and clinic.          Finally, even after the horrific

events    of    September   11,   2001,    the    Defendant   maintained   his

conspiratorial relationship with several jihadists he met through

the al Qaeda training camps he attended.


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     To deter other individuals who may contemplate taking a

similar    path   as   the   Defendant,    a   sentence   of   150   months   is

necessary. See 18 U.S.C. § 3553(a)(2)(B); see, e.g., United States

v. Garnette, 474 F.3d 1057, 1061 (8th Cir. 2007)(the court found an

upward variance necessary to protect the public and to deter

others).      The      Defendant’s   sentence     must    reflect    a   public

pronouncement that attending terrorist training camps to develop

military skills from an organization like al Qaeda cannot be

justified as a religious pilgrimage or a “search for utopia” as

Warsame claims. Unfortunately, the phenomenon of foreign terrorist

camps recruiting       young men from the United States and elsewhere

with a radical view of Islam and a false promise of jihad or holy

war still exists.        To discourage and deter others from repeating

Warsame’s criminal choices, a significant period of incarceration

is necessary.

     The Defendant, however, is not entitled to a variance beyond

30 months based on the length of his pretrial detention.                 Cases

involving international terrorism seldom involve run-of-the mill

litigation.       Throughout the present case, the Court has closely

monitored the conditions of Mr. Warsame’s pretrial detention.

While the defense counsel on several occasions filed motions to

pretrial release, the Court ruled in each instance that the

continued detention was necessary and not punitive.              Furthermore,

the Court never concluded that the length of pretrial detention was


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due to any dilatoriness by the government.               Instead, the length of

the pretrial period stemmed from the complexity of the case, which

included classified discovery, a change of defense counsel, an

extended period of deliberation by the appellate court on an

interlocutory appeal, and numerous motions filed by the defense.

     Lengthy    periods     of    pretrial         detention,   while    certainly

unfortunate and regrettable, are often necessary in cases involving

international terrorism.          For example, Zacarias Moussaoui was

detained from August 2001 through his trial and sentencing in May

2006 – a period of fifty-seven months.                 Ali Saleh Al-Marri, who

recently pleaded guilty in the Central District of Illinois, has

been detained since his arrest in Illinois in December 2001 – a

period   of    ninety-one     months.        The    presentence    investigation

concluded that the Defendant appears mentally fit even though he

has been detained.    During the course of the Defendant’s pretrial

detention,    moreover,     the   defense      never    appealed   the   numerous

denials of their motions for pretrial release to the Eighth Circuit

in order to secure a termination of the Defendant’s pretrial

detention.

     Although Mr. Warsame was segregated from the general prison

population for national security concerns, he was also afforded

various privileges intended to mitigate any effect of prolonged

detention – some privileges that other detainees at Oak Park

Heights are never provided. First, he was allowed recreation seven


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days a week for one hour each day.         He was allowed to take up to

three of those days in the “outdoor recreation area” or the “self-

contained recreation area” with windows open.              Mr. Warsame was

offered more recreational opportunities than the other members of

the Administrative Control Unit (“ACU”). Mr. Warsame largely chose

not take either indoor or outdoor recreation.

     Second, Defendant had the ability to receive psychological

services as offered by Oak Park Heights. There are daily visits by

members of Oak Park Heights’ psychological services to the ACU, and

Mr. Warsame could request visits at any time.               The presentence

investigation showed that he never asked to see a mental health

counselor   or   psychologist,   nor     were    there   ever   any   suicidal

concerns regarding him.     See Presentence Report at 46.

     Third, the Defendant was allowed access to paperback books in

the facility and was able to request specific publications to read.

To date, other than requesting the Koran, he did not make any

specific requests for publications.        Mr.    Warsame was also allowed

full television rights, which includes cable television channels.

     Fourth, Defendant was allowed visitors and, in fact, he was

visited on numerous occasions.     These visits include legal visits,

visits from family, and visits from the Canadian Consulate. During

one such visit, Mr. Warsame was permitted to listen to a recording

of the oral arguments in this case - brought to him at Oak Park

Heights - made before the Eighth Circuit.           Such an allowance was


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specially made for Mr. Warsame and is not permitted for other

occupants of the ACU.     We are unaware of any potential visitors at

Oak Park Heights (family, friends, etc.) who were denied access to

Mr. Warsame.

      Captain Steve Ayers is the highest-ranking uniformed employee

of Oak Park Heights.      He was personally responsible for managing

Mr. Warsame’s stay there.       Captain Ayers personally visited Mr.

Warsame every two to three weeks. During their visits, Mr. Warsame

never asked him for anything.             Further, Mr. Warsame’s general

response to Captain Ayers was “a hand waive and thumbs up.”

      Finally, mindful of the lengthy pretrial detention, the United

States took the extraordinary step of offering the Defendant open-

air walks accompanied by law enforcement agents.               This option

plainly is unavailable to any other members of the ACU.                  Mr.

Warsame never took advantage of this privilege.          Therefore, while

a lengthy pretrial detention was unfortunately necessitated by the

complexity of the litigation, the Defendant’s sentence should not

be   significantly   reduced    by   the    conditions   of   his   pretrial

confinement.

      A sentence of 150 months presents a reasonable variance from

the Guideline range and may reflect the specific circumstances of

this case (e.g., the complex pretrial proceedings which resulted in

a lengthy period of pretrial detention).            However, to promote

respect for the law and avoidance of disparate sentences                 for


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similarly situated defendants, a variance below 150 months would be

unreasonable and unwise.         In United States v. Lindh, for example,

the defendant received twenty years for attending two training

camps (including al Faruq like Warsame) and then fighting on behalf

of the Taliban.      See United States v. Lindh, 227 F. Supp. 2d 565,

(E.D. VA. 2002).

     The   “Lackawanna      Six”     case    presents    another   very   similar

situation.    In     that    case,    the     defendants    were   charged   with

conspiring to provide material support to al Qaeda, based upon

their pre-9/11 travel to Afghanistan to train in the Al Faruq camp

operated by al Qaeda.        Five defendants pled guilty to providing

material   support    to    al   Qaeda,      and   the   sixth   pled   guilty   to

providing funds and services to al Qaeda in violation of the

International Emergency Economic Powers Act (“IEEPA”), 50 U.S.C.

§ 1705.    Unlike Warsame, all six defendants cooperated with the

Government, providing information about Al Faruq and testifying in

other terrorism cases brought by the United States and by other

countries.   In the end, they were sentenced, on various dates in

December 2003, to terms ranging from seven to ten years in prison

(10 years being the applicable statutory maximum at the time). See

United States v. Yahya Goba, et al., No. 02-CR-214S (W.D.N.Y.), see

240 F. Supp. 2d 242 (W.D.N.Y. 2003) (denying defendants’ motions to

revoke detention order). See also United States v. Paracha, 03 Cr.

1197 (S.D.N.Y. 2006) (defendant sentenced to 30 years for assisting


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an al Qaeda operative in obtaining a travel document to enter the

United States) and United States v. Masoud Ahmad Khan, Crim. 03-

296-A (E.D.VA), see 309 F. Supp.2d 789 (E.D. VA 2004) (defendant

Khan sentenced to ten years imprisonment for attending a Laskhar-e-

Taiba training camp in Pakistan and helping an LET agent buy a

remote controlled plane); United States v. Shah, Crim. No. 05 Cr.

673 (S.D.N.Y 2007) (defendant sentenced to 15 years imprisonment

for providing martial arts training to al Qaeda; the Court imposed

statutory maximum, after rejecting various defense arguments for a

lower    sentence    under   the   sentencing   factors    in   18   U.S.C.   §

3553(a)).

     As explained above, the nature and severity of Warsame’s

conduct would certainly permit the conclusion that the Guideline

sentence is reasonable. But in light of all the factors in section

3553(a) and the somewhat unusual procedural history of this case,

the United States has agreed to allocute for a variance of 30

months as a reasonable sentence in this case.




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                              Conclusion

     For the foregoing reasons and those to be presented at the

sentencing hearing, the Court should impose a sentence of a term of

imprisonment of 150 months.

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